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        Exhibit A
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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NEW YORK

             EXCEPTIONAL MEDIA LTD.,
                                                                   CIVIL COMPLAINT DEMAND
                                    Plaintiff,                     FOR JURY TRIAL

                            -against-                              Index No.: _______________

             CHAINALYSIS, INC., KIM GRAUER,
             ERIC JARDINE, ERIN LEOSZ, and
             HENRY UPDEGRAVE,

                                    Defendants.


                   Plaintiff, Exceptional Media Ltd. (“Exceptional Media”), by and through their

            undersigned attorneys, file this Civil Complaint against Chainalysis, Inc., Kim Grauer, Eric

            Jardine, Erin Leosz, and Henry Updegrave, and allege as follows:


                                                 NATURE OF THE ACTION

                   1.      This suit arises out of Chainalysis’s defamatory statements against Plaintiff

            Exceptional Media Ltd. As described below, Plaintiff suffered substantial reputational and

            economic loss totaling over $650,000,000 as a direct result of the defamatory false statements

            published globally by Defendants.

                   2.      Specifically, Chainalysis defamed Exceptional Media by falsely flagging

            Exceptional Media’s Yieldnodes project (hereinafter referred to as “Yieldnodes”) as a scam in its

            Reactor blockchain tracing software sometime in 2022, and falsely identifying Yieldnodes as the

            second largest crypto scam in the world in the year 2022 to a global audience in February 2023.

                   3.      On page 87 of Chainalysis globally-distributed document titled The 2023 Crypto

            Crime Report (“2023 Crypto Crime Report”), in a chapter titled “Scams,” and a section titled

            “2022 crypto scam activity summarized,” Defendants publish a bar graph titled “Top 10 crypto



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            scams by revenue, 2022” in which Defendants defame Plaintiff by identifying YieldNodes as the

            second largest cryptocurrency scam of 2022.

                   4.      At all relevant times, Defendants acted maliciously, intentionally, recklessly and

            negligently, consistently prioritizing financial gain over the accuracy of their public statements.

                   5.      As a direct result of the globally distributed, inaccurate, and defamatory

            statements published by Defendants, cryptocurrency exchanges around the world froze

            cryptocurrency accounts and wallets linked to Yieldnodes and its clients.

                   6.      As a direct result of Chainalysis’ globally publicized statements falsely labelling

            Exceptional Media as a multi-million-dollar crypto scam, Exceptional Media suffered significant

            damage to their business and reputation and suffered irreparable harm to business relationships.

                                                        PARTIES

                   7.      Plaintiff Exceptional Media is a cryptocurrency company located in Hong Kong

            with a principal place of business located at Suite 1905, 19/F, Tower Two Lippo Centre, 89

            Queensway, Admiralty, Hong Kong.

                   8.      Yieldnodes is a service operated and controlled by Exceptional Media that offers

            masternoding services to its clients.

                   9.      Defendant Chainalysis Inc. is a Delaware corporation registered as a foreign

            corporation in New York State, with its primary place of business located at 114 Fifth Avenue,

            18th Floor, New York, NY 10011.

                   10.     Kim Grauer is the Director of Research at Chainalysis and a named author of the

            defamatory 2023 Crypto Crime Report.

                   11.     Eric Jardine is the Cybercrimes Research Lead at Chainalysis and a named author

            of the defamatory 2023 Crypto Crime Report.




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                   12.     Erin Leosz is the Content Marketing Manager at Chainalysis and a named author

            of the defamatory 2023 Crypto Crime Report.

                   13.     Henry Updegrave is the Senior Content Marketing Manager at Chainalysis and a

            named author of the defamatory 2023 Crypto Crime Report.

                                             JURISDICTION AND VENUE

                   14.     This Court has personal jurisdiction over the Defendants under NY CPLR § 302

            (a)(i) (ii) & (ii) because Defendants:

                           A.      Conduct business and committed their tortious acts within New York

                           County;

                           B.      Contract for services within New York County;

                           C.      Committed their tortious acts within New York County while regularly

                           doing and soliciting business, and engaging in a persistent course of conduct, in

                           New York County;

                           D.      Derived substantial revenue from services rendered in New York County;

                           E.      Should have reasonably expected their actions to have consequences in

                           New York County; or

                           F.      Derived substantial revenue in New York County from interstate and

                           international commerce.

                   15.     Venue is proper in New York County under NY CPLR § 503(a) and (c) because;

                           A.      One or more of the Defendants reside and work in New York County;

                           B.      Defendant Chainalysis Inc. is a foreign corporation registered in the State

                           of New York with its principal place of business in New York County; or

                           C.      A substantial part of the events and omissions alleged in this Complaint




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                           occurred in New York County.

                   16.     Venue is proper in New York County under NY CPLR § 509 because Plaintiff

            designates venue in this county.

                                                     BACKGROUND

                   17.     For almost three years, starting in or around 2020, Plaintiff Exceptional Media’s

            Yieldnodes service successfully provided masternoding services for its client base.1

                   18.     A masternode is a key component in certain blockchain networks, designed to

            enhance the functionality and performance of the network. It plays a crucial role in facilitating

            specific features, such as faster transaction processing, increased privacy, and decentralized

            governance.

                   19.     To become a masternode operator, an individual must typically fulfill certain

            requirements, such as holding a minimum amount of the native cryptocurrency of the blockchain

            network. This ensures a level of commitment and stake in the network.

                   20.     Masternodes require an amount of cryptocurrency to be locked up to help prevent

            malicious behavior, as the masternode operator then has a financial interest in the network's

            stability. This also serves as a way to prioritize serious participants over those with malicious

            intentions.

                   21.     Masternodes perform essential functions in the network, including validating and

            authenticating transactions. Unlike regular nodes, masternodes have additional responsibilities

            beyond basic transaction verification, such as enabling features like instant or private




            1
              See https://www.investopedia.com/terms/m/master-node-cryptocurrency.asp (“Master nodes
            are part of the infrastructure that sustains cryptocurrencies such as Bitcoin, Ethereum, and Dash.
            Unlike regular nodes, master nodes do not add new blocks of transactions to the blockchain.
            Instead, they verify new blocks and perform special roles in governing the blockchain.”)


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            transactions.

                   22.      Many blockchain networks use a consensus mechanism, such as Proof-of-Stake

            (PoS) or a variation of it, to select masternodes to create new blocks and validate transactions.

            The likelihood of being selected is often proportional to the amount of cryptocurrency held as

            collateral by the masternode.

                   23.      Masternodes often play a role in the governance of the blockchain network. This

            may involve voting on proposals for protocol upgrades, changes in parameters, or other decisions

            that impact the network. Masternode operators typically have voting power based on the amount

            of cryptocurrency they've staked.

                   24.      In return for their services they provide, masternode operators receive payments

            in the form of the native cryptocurrency. These payments can include transaction fees, block

            rewards, or a combination of both. The incentive structure encourages operators to act in the best

            interest of the network.

                   25.      To maintain masternode status and continue receiving rewards, operators must

            keep their nodes online and operational. This ensures the reliability and availability of

            masternodes in the network.

                   26.      In summary, a masternode serves as a specialized and incentivized node in a

            blockchain network, contributing to enhanced functionality, governance, and security. It plays a

            crucial role in the consensus mechanism, transaction validation, and decision-making processes

            within the network.

                   27.      Yieldnodes is a masternoding service with activity across a network of




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            decentralized blockchains.2 The largest cryptocurrency project Yieldnodes provided

            masternoding services for is Sapphire (“SAPP”), which had at its peak a market capitalization of

            about $900 million USD.3

                   28.     Defendant Chainalysis describes itself as:

                           [T]he blockchain data platform. We provide data, software, services,
                           and research to government agencies, exchanges, financial
                           institutions, and insurance and cybersecurity companies in over 70
                           countries. Our data powers investigation, compliance, and market
                           intelligence software that has been used to solve some of the world’s
                           most high-profile criminal cases and grow consumer access to
                           cryptocurrency safely. Backed by Accel, Addition, Benchmark,
                           Coatue, GIC, Paradigm, Ribbit, and other leading firms in venture
                           capital, Chainalysis builds trust in blockchains to promote more
                           financial freedom with less risk. For more information, visit
                           www.chainalysis.com.4

                   29.     In June 2023, TIME Magazine proclaimed Defendant Chainalysis as one of the

            100 most influential companies in the world stating “Chainalysis has become the go-to sleuthing

            firm for tracking crypto crimes ….”5

                   30.     Upon information and belief, sometime in 2022, Chainalysis decided Yieldnodes

            was a scam, and flagged blockchain wallets associated with Yieldnodes in its proprietary

            softwares that it markets globally to law enforcement and government regulatory agencies.

            Chainalysis did so without ever contacting Plaintiff, something Defendants could have easily

            done simply by going to the Yieldnodes website.

                   31.     In late 2022, Plaintiff’s customers started informing them that their bitcoin




            2
              See https://mitsloan.mit.edu/ideas-made-to-matter/blockchain-explained (“[b]lockchain
            technology allows a network of computers to agree at regular intervals on the true state of a
            distributed ledger.”)
            3
              See https://claim-sales.YieldNodes.com/#media-and-press.
            4
              See https://go.chainalysis.com/2023-crypto-crime-report.html.
            5
              See https://time.com/collection/time100-companies-2023/6285206/chainalysis/.


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            withdrawals and deposits were being frozen by multiple cryptocurrency exchanges.

                       32.      In or around December 2022, Plaintiff Exceptional Media attempted multiple

            times to reach a representative from Chainalysis and was repeatedly channeled to Chainalysis’

            sales representatives.

                       33.      In or around January 2023, Plaintiff Exceptional Media attempted to acquire a

            Chainalysis Reactor software license.6

                       34.      On or about January 16, 2023, Plaintiff Exceptional Media met with a Chainalysis

            sales representative and explained the difficulties customers of Yieldnodes were having with

            their deposits and withdrawals from multiple exchanges.

                       35.      On or about January 17, 2023, a Chainalysis salesperson emailed Plaintiff a sales

            document. This four-page sales document states, among other things, that a limited review of

            160,000 transactions per month through Chainalysis’s Know-Your-Transaction (“KYT”)

            surveillance system and Chainalysis Reactor software would cost an estimated $326,400

            annually.

                       36.      Plaintiff never agreed to purchase Chainalysis’ services.

                       37.      In or around the third week of January 2023, Plaintiff received a phone call from

            someone at Chainalysis, informing Plaintiff that Chainalysis had categorized Yieldnodes as a

            scam.

                       38.      The Chainalysis representative informed Plaintiff that Yieldnodes’ categorization

            could be lifted, or changed to “high-risk”, but such a possibility should be viewed as an

            “opportunity” that may take a couple of months.

                       39.      On or about January 23, 2023, Plaintiff emailed the Chainalysis sales



            6
                Chainalysis Reactor is Chainalysis’ proprietary blockchain surveillance, tracing, and compliance software.


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            representative, complaining about Chainalysis’ designation of Yieldnodes’ as a scam. Plaintiff

            explained Yieldnodes’ business, and the significant damage done to that business by

            Chainalysis’ labelling of Yieldnodes as a scam.

                       40.     Chainalysis never replied directly to Plaintiff’s email. A sales representative did

            call after the email was forwarded to them. When Plaintiff asked about their January 23, 2023,

            email, the sales representative told Plaintiff that the matter was being resolved internally.

            Plaintiff asked if the matter could be resolved faster, and the Chainalysis sales representative

            informed Plaintiff that pushing Chainalysis could be seen as blackmailing.

                       41.     Since at least 2020, Defendant Chainalysis has been publishing and distributing

            globally a crypto crime report.

                       42.     In February 2023, Chainalysis published “The 2023 Crypto Crime Report –

            Everything you need to know about cryptocurrency-based crime”, clocking in at 107-pages.

                       43.     The 2023 Crypto Crime Report lists Defendants Kim Grauer, Eric Jardine, Erin

            Leosz and Henry Updegrave as its primary authors.7

                       44.     Chainalysis’s 2023 Crypto Crime Report contains sections on sanctions,

            ransomware, money laundering, stolen funds, Oracle manipulation attacks, and darknet markets,

            all before its sections on scams and pump and dump tokens.8

                       45.     On page 87 of The Crypto Crime Report, in its chapter titled Scams, in a section

            titled “2022 crypto scam activity summarized,” Chainalysis publishes a bar graph titled “Top 10

            crypto scams by revenue, 2022” in which Chainalysis prominently displays YieldNodes.com as

            the second largest cryptocurrency scam of 2022.




            7
                See THE 2023 CRYPTO CRIME REPORT, p. 106, (attached as Ex. A.)
            8
                See Ex. A.


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                         2022 crypto scam activity summarized
                        W hil e scam revenue dropJ>!!d overall, we st ill sow· o num ber of ni ghly slKcessful sco:ms, t h.e top be·ng
                        Hypel"\lerse, whiclh pulled in neC11rl y $:1.3 billion ·n reyen11e.



                                                              Top 10 crypto scams by reve n·ue,. 2'022


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                                $1 B




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                        All ten o f 2022's top scorns were imrestm ent scams, wh ic h as o category dominated overall scorn
                         revenue l ost year. HoweYer, tlha.t doesn m enn we con i gnore ot her types of scorns. Despite haYi ng
                        lower oYerall revenue o,s a category, romance sea.ms appear to hove t>een h.e most dest ructi ve on a
                         revenue-per -victi m basi s..
                                                                                                                                         9



                       46.        This is the only place that Yieldnodes appears in the Crime Report, and there is no

            discussion as to the basis for Chainalysis’s accusation.

                       47.        The Crime Report nowhere defines what constitutes a scam.

                       48.        On or about March 4, 2023, Plaintiff became aware of Chainalysis’ defamatory

            statements in the globally-published Crypto Crime Report where Defendants accused Plaintiff of

            committing fraud.

                       49.        On or about March 4, 2023, Plaintiff emailed the Chainalysis salesperson, as well

            as multiple other email addresses tied to Chainalysis, including the CEO and its legal

            department. In the email, Plaintiff informed Chainalysis of the inaccuracy of their defamatory




            9
                Id. at 87 (Feb. 2023).


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            statements and advised Chainalysis that their false accusations were causing hundreds of millions

            of dollars worth of damage to Plaintiff.

                    50.     On or about June 1, 2023, Hauzen LLP, Plaintiff’s Hong Kong-based law firm,

            sent a cease-and-desist letter to Defendant Chainalysis Inc.

                    51.     On or about June 29, 2023, counsel for Chainalysis, from Kelley Drye & Warren

            LLP, responded to Hauzen LLP’s cease-and-desist letter with a general denial.

                                                 CLAIMS FOR RELIEF

                                               Count I: Defamation Per Se

                    52.     Plaintiff Exceptional Media re-alleges paragraphs 1-51as if the same were fully

            set forth herein.

                    53.     Defendants made false statements when they:

                            A.     Flagged Plaintiff as a fraudulent enterprise in their software distributed

                                   globally to law enforcement, government regulatory agencies, and third

                                   parties blockchain for investigatory and compliance purposes; and

                            B.     Globally published the 2023 Crypto Crime Report in which Defendants

                                   labelled Plaintiff as having committed the felony of financial fraud.

                    54.     Defendants made their false statements intentionally with actual malice, or

            negligently.

                    55.     Defendants’ false statements comprised defamation per se, as they charge

            Plaintiff with the serious crime of fraud amounting to over $341,000,000.

                    56.     Defendants’ false statements compromise defamation per se as they impugn the

            basic integrity or creditworthiness of Plaintiff.

                    57.     Defendants’ false statements have damaged and continue to damage Plaintiff’s




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            business and have significantly damaged the reputation of its business.

                    58.     Defendants’ false statements were published and spoken without any privilege or

            authorization to a third party.

                    59.     Defendants’ false statements were presented as fact and are not protected opinion.

                                Count II: Tortious Interference with Business Relationships

                    60.     Plaintiff Exceptional Media re-alleges paragraphs 1-59 as if the same were fully

            set forth herein.

                    61.     At all times pertinent to these claims, Plaintiff had ongoing business relationships

            as part of its masternoding services with numerous third parties, including cryptocurrency clients

            and cryptocurrency exchanges.

                    62.     At all times pertinent to these claims, Defendants knew or had reason to know

            that Plaintiff had ongoing business relationships with cryptocurrency clients and exchanges that

            would be impacted by Defendants’ false statements.

                    63.     Defendants interfered with Plaintiff’s ongoing business relationships with

            cryptocurrency clients and exchanges; and did so through improper means: by publicizing false

            statements about Plaintiff.

                    64.     Defendants did so with full and complete knowledge that cryptocurrency

            exchanges would likely freeze Plaintiff’s clients’ funds.

                    65.     Defendants interfered with Plaintiffs’ business relationships for improper means,

            profiting from their falsehoods.

                    66.     As a result of Defendants’ interference, Plaintiff suffered substantial damages to

            its relationships with third parties.

                    67.     As a direct result of Defendants’ tortious interference with Plaintiff’s business




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            relationships, Plaintiff has suffered, and continues to suffer, substantial damages amounting to at

            least $650,000,000.

                                                 REQUESTED RELIEF

                   WHEREFORE, Exceptional Media Ltd. requests judgment against Defendants as

            follows:

                   (i)     With respect to all counts, Plaintiff seeks a public apology, retraction of the

            defamatory statements, compensatory and punitive damages to be determined by a jury at trial.

                   (ii)    For costs of suit and such further relief that the Court deems just and proper.

                                                      JURY DEMAND

                   Plaintiffs demand trial by jury.


            DATED: January 19, 2023
            Brooklyn, New York

            Submitted,
            /s/ Tor Ekeland
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            Counsel for Plaintiff




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